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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                   Plaintiffs,                                8:13CR42

      v.
                                                               ORDER
VIRGILIO ROMAN-CHAIDEZ,

                   Defendant.


      This matter is before the court on its own motion. Pursuant to General Order No.

2014-09, In The Matter Of Cases Assigned To Chief Judge Laurie Smith Camp, Judge

Joseph F. Bataillon, Judge John M. Gerrard, And Judge Lyle E. Strom Involving A

Potential Reduction In Sentence Pursuant To Amendment 782 (Oct. 2, 2014), the

Federal Public Defender or one of his delegates under the Criminal Justice Act was

appointed to represent the defendant as a person within the ambit of the General Order.

Filing No. 110. Amendment 782 (sometimes called the “drugs minus two” or the “2014

drug guidelines amendment”) reduces offense levels assigned in the Drug Quantity

Table by two levels, resulting in lower guideline ranges for many drug trafficking

offenses. See Federal Register Notice of Final Action Regarding Amendment to Policy

Statement §1B1.10, Effective November 1, 2014, 79 Fed. Reg. 25996 (May 6, 2014);

available at www.ussc.gov. http://www.ussc.gov/amendment-process/federal-register-

notices. The proposed amendment went into effect on November 1, 2014. Id. The

Sentencing Commission has given retroactive effect to the amendment. Id. at 1.

      The defendant was sentenced on May 19, 2014 to a prison term of 135 months

for Conspiracy to Distribute 500 Gram or More Methamphetamine in violation of 21
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U.S.C. § 846. Filing No. 104, Judgment. The record shows the defendant's guideline

calculation reflects the two point reduction in the drug base offense level proposed by

the Sentencing Commission and consistent with the Attorney General's direction

concerning such motions.       Filing No. 105, Statement of Reasons (Sealed) at 1.

Accordingly, defendant Virgilio Roman-Chaidez has received the benefit of the reduced

guideline range and no further benefit is available.

       IT IS SO ORDERED.

       DATED this 26th day of August, 2015

                                                 BY THE COURT:
                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge




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